Case 18-11830-amc             Doc 143       Filed 12/19/24 Entered 12/19/24 15:50:54                    Desc Main
                                           Document Page 1 of 1



                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: Sandra Banks-Eldridge
                                      Debtor(s)                                      Chapter 13

 Lakeview Loan Servicing, LLC
                                      Movant
                   v.                                                           NO. 18-11830 AMC

 Sandra Banks-Eldridge
                                      Debtor(s)
                                                                               11 U.S.C. Section 362
 Kenneth E. West, Esq.
                                      Trustee


                                                          ORDER
          AND NOW, this        19th          day of Dec. , 2024 upon the filing of a Certification of Default by the
 Moving Party in accordance with the Stipulation of the parties approved on March 10, 2023, it is ORDERED
 AND DECREED that:
          The Automatic Stay of all proceedings, as provided under Section 362 of the Bankruptcy Abuse
 Prevention and Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362 and the Co-Debtor Stay
 under Section 1301 of the Bankruptcy Code (if applicable), is modified with respect to the subject premises located
 at 312 Thyme Lane, Philadelphia, PA 19128 (“Property”), so as to allow Movant, and its successors or assignees,
 to proceed with its rights and remedies under the terms of the subject Mortgage and pursue its in rem State Court
 remedies including, but not limited to, taking the Property to Sheriff’s Sale, in addition to potentially pursuing
 other loss mitigation alternatives including, but not limited to, a loan modification, short sale or deed-in-lieu of
 foreclosure. Additionally, any purchaser of the Property at Sheriff's Sale (or purchaser's assignee) may take any
 legal action for enforcement of its right to possession of the Property.
          The stay provided by Bankruptcy Rule 4001(a)(3) has been waived.




                                                                 United States Bankruptcy Judge.
